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Mark R. Kercher, CPA

Contact

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Education

Indiana University, B.S
Accounting

Key Skills

Financial Controls and Monitoring
Project Management

Highly skilled
communicator/motivator
Problem-solving

Objective

Serving and directing engagements in troubled financial settings
requiring collaboration, decisiveness and project management.
Working with all stakeholders in accomplishing mission, utilizing 45
years’ experience in financial leadership positions.

Experience

Eastern Niagara Hospital (Debtor in Possession)

Chief Financial Officer. Engaged to oversee financial matters including
Bank workout, revenue enhancement, cost controls and asset
monetization. Worked closely with secured creditor and Creditor’s
Committee. Hospital closure was imminent in 2020, along with team
maintained quality operations until closure in June of 2023.

Plan Administrator. Following closure appointed as Plan Administrator
charged with all wind-down activities including asset sales, pension
terminations, and required financial reporting. Managed cash flow
against projections, monthly US Trustee reporting and all required
regulatory filing.

*“May 2014-June 2020
Self Employed

Engaged in financial research and due diligence contracted by
financial service providers GLG and Coleman. Largely providing
financial insight to hedge fund analysts on target companies.

“February 1978-June 2013
Ernst and Young, LLC

Partner at Ernst and Young. (Buffalo, NY and Las Vegas, NV)
Responsible as lead audit partner serving large healthcare systems,
public companies in industrial manufacturing and real estate. Later
served integrated resort/casino clients throughout US and Southeast
Asia.

References available upon request

